USDC IN/ND case 1:06-cr-00023-HAB                          document 220          filed 12/07/07         page 1 of 9


                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
         v.                                            )        CAUSE NO.: 1:06-CR-23-TS
                                                       )
MARLYN J. BARNES,                                      )
MICHAEL D. ALEXANDER,                                  )
THEODIS ARMSTEAD,                                      )
HERBERT HIGHTOWER,                                     )
VERNELL A. BROWN, and                                  )
MELVIN B. TAYLOR,                                      )


                                           OPINION AND ORDER

         This matter is before the Court on motions to sever filed by Defendants Theodis

Armstead [DE 209], Vernell A. Brown [DE 210], and Melvin B. Taylor [DE 211]. Armstead,

Brown, and Taylor contend that, pursuant to Federal Rule of Criminal Procedure 14, they should

be tried separately from Co-Defendant Marlyn J. Barnes.1



                                                BACKGROUND

         On May 24, 2006, the government filed a four-count Indictment. Count 1 alleges that the

Defendants conspired from March 21, 2006, until May 5, 2006, to possess with the intent to

distribute more than five kilograms of a mixture or substance containing a detectable amount of

cocaine. Counts 2, 3 and 4 charge Defendants Barnes, Armstead, and Taylor with possessing a

firearm in furtherance of the alleged conspiracy. The Indictment also contains a forfeiture




         1
           The initial motion for severance indicated that the Co-Defendants also wished to be tried separately from
each other. In their reply, the Co-Defendants clarify that they are not asking for four separate trials but expect that
they would be tried jointly if their motions are granted.
USDC IN/ND case 1:06-cr-00023-HAB                document 220        filed 12/07/07      page 2 of 9


allegation for a 1992 Cadillac, numerous firearms, bullet resistant vests, and ammunition.

       On January 23, 2007, Defendant Barnes made a proffer to federal agents regarding his

involvement in or knowledge of the conspiracy charged in the Indictment. He stated that the

plan only involved himself and Co-Defendant Herbert Hightower. He also stated that he did not

put a “crew” together and that the vest and AK-47 rifle seized during his arrest were his. Barnes

stated that Taylor, Brown, and Armstead did not come to Fort Wayne to assist in the robbery. He

explained that Taylor has family in Fort Wayne and came to the area frequently. He stated that

Taylor had come to Fort Wayne to get his gun back from Barnes. He again stated that only he

and Hightower were going to be involved in stealing money and that Taylor, Brown, and

Armstead asked if they could steal two kilos of cocaine from the delivery location as they made

their way to Ohio.

       Barnes did not adopt any of the statements he made in his proffer. However, when the

government submitted the proffer to the Defendants on September 19, 2007, during the second

day of the joint trial of Barnes, Armstead, Brown, and Taylor, they argued that the statements

were exculpatory and that Barnes would testify to the information provided in his proffer. The

Court conducted a hearing to determine Barnes’ willingness to testify at trial. He stated that if

the trial remained a joint trial, he would not testify. He indicated that if his trial was severed from

the Co-Defendants, he would testify at their trial consistent with the statement in his proffer

regarding Armstead’s, Brown’s, and Taylor’s reasons for coming to Fort Wayne. He affirmed,

upon questioning from his counsel, that his testimony would be that “neither Mr. Taylor, Mr.

Brown, or Mr. Armstead came to Fort Wayne to assist, in any way, in the allegations contained

in the indictment.” (Sept. 19, 2007, Tr. 5.) The Court granted a mistrial to give the Defendants


                                                  2
USDC IN/ND case 1:06-cr-00023-HAB                 document 220        filed 12/07/07      page 3 of 9


Armstead, Brown, and Taylor an opportunity to move to be tried separately from Defendant

Barnes.

        On October 18, Defendant Armstead moved to sever his trial from Barnes. On October

18 and 23, Defendants Brown and Taylor joined in Armstead’s motion and asked the Court to

sever their trial for the reasons stated in Armstead’s motion.

        On November 19, the government responded. The government argues that Barnes’

proposed testimony, although perhaps helpful in providing an alternative reason for the other

Defendants’ trips to Fort Wayne, is not exculpatory regarding their involvement in the

conspiracy after they arrived in Fort Wayne. The government also contends that because Barnes’

testimony lacks credibility and is vulnerable to significant impeachment, it is not sufficient to

overcome the presumptions of joint trials in conspiracy cases. Further, the government argues,

the admissibility of Barnes’ lone adopted statement is questionable. The government argues that

there is no assurance that the Co-Defendants will even call Barnes to testify or that, if called, he

will testify if his trial is scheduled to begin after his Co-Defendants’ trial. Finally, the

government argues that the proposed testimony bears little on the Co-Defendants’ theory of

defense because they have never disputed that they were in Fort Wayne and testimony regarding

why they initially came to Fort Wayne “means absolutely nothing.” (DE 216, Gov’t Resp. 16)

(arguing that the Co-Defendants “could be guilty of the offense if they came here for other

reasons but later joined the conspiracy or aided and abetted the conspiracy involving” Barnes

and the other Defendants who have pleaded guilty).

        On December 4, 2007, Armstead, Brown, and Taylor filed their reply. They argue that

the government, in support of its argument that Barnes’ testimony is not exculpatory, distorts the


                                                   3
USDC IN/ND case 1:06-cr-00023-HAB                document 220        filed 12/07/07    page 4 of 9


testimony that he indicated would be offered at his Co-Defendants’ trials. They contend that

Barnes indicated during the September 19 hearing that his testimony would be that Armstead,

Brown, and Taylor did not come to Fort Wayne to assist in any way with the allegations charged

in the indictment—not simply that they came to Fort Wayne for other reasons. The Defendants

assert that the government’s anticipated evidence against the Defendants and its proposed

impeachment evidence are not properly before the Court and should not be considered on a

motion to sever. The Defendants reassert, with analysis for each prong of the relevant test, that

this is the kind of case where severance is appropriate to allow co-defendants to present the

exculpatory testimony of another co-defendant who would not testify at a joint trial. They attach

to their response a subpoena issued to Barnes to testify at trial.

                                           DISCUSSION

       “The efficiencies involved in trying members of the same conspiracy together has led to a

presumption in favor of a joint trial for coconspirators.” United States v. Williams, 31 F.3d 522,

528 (7th Cir. 1994) (citing United States v. Lopez, 6 F.3d 1281, 1285 (7th Cir. 1993)); see also

United States v. McClurge, 311 F.3d 866, 871 (7th Cir. 2002) (stating that “[i]n conspiracy

cases, ‘there is a strong interest in trying defendants who have been jointly indicted in a single

trial’”) (quoting United States v. Blassingame, 197 F.3d 271, 286 (7th Cir. 1999)). “In all but the

most unusual circumstances, the risk of prejudice arising from a joint trial is outweighed by the

economies of a single trial in which all facets of the crime can be explored once and for all.”

McClurge, 311 F.3d at 871 (quotation marks omitted).

       The Defendants’ attempts to rebut this presumption is governed by Rule 14, which allows

a court to order separate trials if consolidation “appears to prejudice a defendant.” Williams, 31


                                                  4
USDC IN/ND case 1:06-cr-00023-HAB               document 220        filed 12/07/07     page 5 of 9


F.3d at 528; Fed. R. Crim. P. 14(a). The Defendants contend that they should be tried separately

from Co-Defendant Barnes because it is imperative to their defense that their counsel be able to

cross-examination Barnes. Each Defendant believes that he can establish, through the testimony

of Barnes, that he was not a member of the charged conspiracy. However, since Barnes cannot

be forced to testify against himself at a consolidated trial, Armstead, Brown, and Taylor would

not be able to elicit this testimony unless they are tried separately from Barnes.

       The inability to take advantage of exculpatory evidence that may be unavailable during a

joint trial has been recognized as one of the “classic” situations that can present prejudice

sufficient to outweigh the economies of a single trial. See Zafiro v. United States, 506 U.S. 534,

539 (1993); United States v. Thornton, 197 F.3d 241, 255 (7th Cir. 1999). To obtain a severance

on the basis that it is needed to take advantage of exculpatory evidence, the Defendants must

show that: (1) Barnes’ testimony would be exculpatory; (2) Barnes would in fact testify; and (3)

the testimony would bear on his Co-Defendants’ cases. Williams, 31 F.3d at 528 (citing United

States v. Boykins, 9 F.3d 1278 (7th Cir. 1993)); United States v. Tolliver, 937 F.2d 1183, 1189

(7th Cir. 1991).

       The Defendants bear the burden of providing some proof that Barnes would testify in an

exculpatory manner. United States v. Andrus, 775 F.2d 825, 847 (7th Cir. 1985).

       To justify severance, a defendant must provide some support, such as an affidavit
       or the existence of recorded testimony, that his codefendant would testify in a
       manner which would exculpate him. Severance cannot be granted on the basis of
       a vague, unsupported assertion that a codefendant would testify favorably in a
       separate proceeding.

Id.; see also Tolliver, 937 F.2d at 1189.

       In this case, Barnes made a proffer to a federal agent on January 23, 2007. In paragraph


                                                 5
USDC IN/ND case 1:06-cr-00023-HAB                  document 220        filed 12/07/07    page 6 of 9


10 of that proffer, it is recorded that Barnes told the agent that Armstead, Taylor, and Brown did

not come to Fort Wayne to assist in the robbery. In a hearing before the Court on September 19,

2007, Barnes testified that if he was tried jointly with his Co-Defendants, he would not testify,

but that if the trials were severed, he would take the stand at his Co-Defendants’ trials and testify

consistent with the first sentence of paragraph 10 of his January 23 proffer regarding the Co-

Defendants reasons for coming to Fort Wayne. Upon questioning from his counsel, he

acknowledged that his testimony would be that “neither Mr. Taylor, Mr. Brown, or Mr.

Armstead came to Fort Wayne to assist, in any way, in the allegations contained in the

indictment.” (Sept. 19, 2007, Tr. 5.) The Co-Defendants have since subpoenaed Barnes to testify

at trial.

            The government argues that the testimony is not exculpatory, that there is no guarantee

that Barnes will testify, and that the testimony does not bear on the Co-Defendants’ cases. The

Defendants disagree.

            The basis for the government’s argument that the evidence is not exculpatory is that it

does not foreclose the possibility that, despite their reasons for coming to Fort Wayne, the Co-

Defendants later joined the conspiracy. However, this minimizes Barnes’ proposed testimony

that they did not come to Fort Wayne to assist, in any way, in the allegations contained in the

indictment. This implies that they did not, at any point, join the conspiracy. And while an

implication is not as strong as an explicit statement that the Co-Defendants never joined the

conspiracy, Barnes’ proposed testimony is distinguishable from that offered in support of

severance in United States v. Gonzalez, 933 F.2d 417 (7th Cir. 1991). In Gonzales, the defendant

seeking severance presented his co-defendants’ affidavits, in which they stated that they would


                                                     6
USDC IN/ND case 1:06-cr-00023-HAB                document 220        filed 12/07/07      page 7 of 9


testify in a separate trial that the defendant traveled to Chicago on legitimate business during the

conspiracy’s time frame. 933 F.2d at 425. The proffered testimony did not exclude the possibility

that he also traveled to Chicago on drug-related business and did not discuss the particular travel

date relied upon by the government to establish guilt. Id. (finding that statements would not

exculpate the defendant from allegations that he took a trip to Chicago for drug-related

purposes). Here, Barnes goes beyond merely asserting that the Co-Defendants came to Fort

Wayne during the time frame alleged in the indictment for legitimate reasons, such as to visit

family. His statement addresses the very trip that forms the basis of the indictment charges and

explicitly states that the trip was not made to engage in the charged illegal activity. The

anticipated testimony does more than refute a portion of the government’s proof. If believed, it

has the potential to exonerate the Co-Defendants because it is entirely inconsistent with the

charges that they participated in a conspiracy to possess with the intent to distribute drugs. Cf.

United States v. Magana, 118 F.3d 1173, 1190–91 (7th Cir. 1997) (holding that proposed

testimony from co-defendant that another defendant never supplied him with cocaine did not

refute charges for “attempted” distribution and “conspiracy” to distribute). That the government

has evidence that the Co-Defendants did engage in the activity charged in the indictment by

joining the conspiracy, contrary to Barnes’ statement, or that the government can otherwise

impeach Barnes’ credibility, does not render Barnes’ statement non-exculpatory. It is a piece of

evidence that the Co-Defendants are entitled to present to a jury as part of a fair trial.

       As to the second factor, the competent evidence before this Court is that Barnes will

testify at a trial of his Co-Defendants. He has stated as much under oath in a hearing before this

Court. The Co-Defendants have subpoenaed him to testify. The Court anticipates scheduling the


                                                  7
USDC IN/ND case 1:06-cr-00023-HAB                        document 220           filed 12/07/07         page 8 of 9


trial of Barnes before the trial of his Co-Defendants. This will address the government’s concern

that Barnes will refuse to testify if his trial does not come first (because his testimony could then

be used against him at his trial).2

         The third prong is satisfied because Barnes’ statements bear on the Co-Defendants’ case.

They go to the very heart of the charges against them—that they participated in a conspiracy

with Barnes and others to possess with the intent to distribute cocaine from on or about March

21, 2006, to May 5, 2006. The Defendants’ theory of the case is that they did not become willing

and knowing participants in a conspiracy, despite their presence in a hotel room with others who

discussed and planned the conspiracy that is charged in the indictment. Barnes’ proposed

testimony is consistent with this theory.

         The Court considers the strong public interest in having co-conspirators jointly indicted

tried together, but finds that the Defendants have overcome the presumption in this case.



                                                 CONCLUSION

         For the foregoing reasons, the Defendants’ Motions for Severance [DE 209, 210 & 211]

are GRANTED. The government’s case against Defendants Armstead, Brown, and Taylor will

be tried jointly. Their trial will be separate from the trial of Defendant Barnes. A telephonic

scheduling conference for Defendant Barnes is set for Tuesday, December 11, 2007, at 12:00 PM



         2
            The Court notes that any concerns Barnes has about incriminating himself if his trial were to proceed
second is consistent with the reason for severing trials. See United States v. McNeal, 853 F. Supp. 1047, 1050 (N.D.
Ill. 1994). This Court agrees with the assessment by the district court in McNeal that if Barnes “were willing to
waive his Fifth Amendment right and risk incriminating himself, there would be no need to even sever the trial. It
would be fully consistent with granting a severance to try the testifying codefendant[s’] case[s] first.” 853 F. Supp.
at 1050.


                                                          8
USDC IN/ND case 1:06-cr-00023-HAB                document 220   filed 12/07/07   page 9 of 9


before Judge Theresa L. Springmann. The Defendant’s attorney, Robert W. Gevers, will call in

to the Court at 260-423-3050. A telephonic scheduling conference for Defendants Armstead,

Brown, and Taylor is set for , December 12, 2007, at 1:30 PM before Judge Theresa L.

Springmann. The Court will initiate the call.

       SO ORDERED on December 7, 2007.

                                                s/ Theresa L. Springmann
                                                THERESA L. SPRINGMANN
                                                UNITED STATES DISTRICT COURT




                                                  9
